Case 2:05-Cr-20277-BBD Document 9 Filed 08/22/05 Page 1 of 2 Page|D 15

 

lN THE UN|TED STATES DlSTRlCT COURT FFLED BY-K=il bd -D'C'
FOR THE WESTERN DlSTRlCT OF TENNESSEE F
WESTERN DlVlS|ON 33 AUG 22 AH 95 \li

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Plaintiff, CR. NO. 05-20277-D

VS.

DESHONE L. SK|NNER,
M|CHAEL WORTHAM,
GENO BONDS,

vv`_d"l-Fv\-dv`-¢vvv

Defendants.

ORDER

 

The United States having requested that the Court unseal the |ndictment, and
the Court being satisfied that sealing is no longer necessary, it is hereby

ORDERED that a|| of the above document is UNSEALED.

Date: 22 ?4\€5_ M

Memphis, ennessee uNlTED sTATEs MAGlsTRATE JuD`oE

APPROVE .

 

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This notice confirms a copy of the document docketed as number 9 in
case 2:05-CR-20277 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

 

 

Joseph C Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Berniee Donald
US DlSTRlCT COURT

